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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )     Case No. 1:08CR00024-02
                                                )
v.                                              )         FINAL ORDER
                                                )
BRYANT KELLY PRIDE,                             )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )


       For the reasons stated in the accompanying Opinion, it is ORDERED as

follows:

             1. The defendant’s motion (ECF No. 2698), to the extent that it
       seeks relief from judgment under Fed. R. Civ. P. 60(b)(6) and 15(c), is
       DENIED;

             2. The Clerk is DIRECTED to redocket the defendant’s pro se
       motion (ECF No. 2698) as a Motion to Vacate, Set Aside or Correct
       Sentence, pursuant to 28 U.S.C. § 2255;

             3. The § 2255 motion is hereby DENIED without prejudice as
       successive;

              4. The § 2255 motion is stricken from the active docket of the
       court; and

             5. A Certificate of Appealability is DENIED.

                                             ENTER: February 22, 2012

                                             /s/ James P. Jones
                                             United States District Judge
